         FIFTH DISTRICT COURT OF APPEAL
                STATE OF FLORIDA
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                     Case No. 5D2023-0302
              LT Case No. 16-2019-CF-010350-AXXX
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MICHAEL LATRELLE LASHAW
MCMILLON,

    Appellant,

    v.

STATE OF FLORIDA,

    Appellee.
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On appeal from the Circuit Court for Duval County.
Adrian G. Soud, Judge.

Matthew J. Metz, Public Defender, and George D.E. Burden,
Assistant Public Defender, Daytona Beach, for Appellant.

Ashley Moody, Attorney General, and Daren L. Shippy, Assistant
Attorney General, Tallahassee, for Appellee.

                       August 27, 2024


PER CURIAM.

    AFFIRMED.

HARRIS, KILBANE, and PRATT, JJ., concur.
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Not final until disposition of any timely and
authorized motion under Fla. R. App. P. 9.330 or
9.331.
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